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IN RE: BLUE CROSS BLUE SHIELD
ANTITRUST LITIGATION                                                             MDLNo.2406


                                       SCHEDULE A


            Northern District of Alabama

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     One Stop Environmental, LLC, et al. v. Blue Cross and Blue Shield of Alabama, et aI.,
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